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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS
EAST ST. LOUIS DIVISION

IN RE PRADAZA
(DABIGATRAN ETEXILATE)
PRODUCTS LIABILITY
LITIGATION

MDL No. 2385
3:12-md-02385-DRH-SCW
Judge David R. Herndon

This Document Relates to:
ALL CASES

CASE MANAGEMENT ORDER NUMBER 8
REGARDING DEPOSITION PROTOCOL

Herndon, Chief Judge:

This Order, agreed to after negotiations and with the agreement of
counsel, controls depositions of witnesses who are Boehringer Ingelheim
Pharmaceuticals, Inc.'s current or former employees, all other witnesses located
in the United States, and expert witnesses. The parties agreed to the terms of this
Order based on representations by Plaintiffs’ MDL Counsel and counsel for
plaintiffs in state court jurisdictions where other cases related to Pradaxa are
pending that it is the intent of the plaintiffs’ attorneys as a group to use their best
efforts to avoid duplicative discovery and not to use the existence of state court
proceedings in a manner to create duplicative or repetitive discovery that departs
from the purpose and goals of the orders entered in this MDL. Accordingly, the
agreed purpose of this Order is to gain the highest degree of efficiencies and
cooperation in the taking of depositions in Pradaxa related litigation. While

recognizing the benefits to the parties, their counsel and the judicial system as a
Case Be ihd-0288843RH SOWN 6 G4trdnt BACCHHED 36/63/Pa0Pags 2%P Age |Patje/HPF171

whole that result from coordination and cooperation, counsel and the parties
recognize that each state is an independent jurisdiction, and it is not the intention
of the Court or the parties that judges in any of the participating jurisdictions
delegate their duties to any other judicial officer.
A. General Provisions and Objectives
l. The terms of this Order were negotiated between MDL and
state court counsel for plaintiffs and counsel for Boehringer Ingelheim
Pharmaceuticals, Inc., and it is the intention of the parties that this Order apply to
the defendant Boehringer Ingelheim Pharmaceuticals, Inc., plaintiffs (both
represented and pro se), third parties, and their respective counsel. In the event
any of the non-U.S. defendants are found subject to the jurisdiction of this Court,
their counsel shall negotiate with Plaintiffs’ Lead counsel concerning any changes
to this Order and may submit such changes in the form of an Amended
Deposition Protocol. The parties may submit any disputed terms to the Court for
resolution. Unless specifically modified herein, nothing in this order shall be
construed to abrogate the applicable Rules of Civil Procedure or the Local Rules

of the presiding Court.

2. Counsel are reminded that the Courts consider depositions to
be official court procedures and the conduct of all participants in depositions
shall be in accordance with the customs and practices expected of lawyers and
witnesses appearing before these Courts, as if each was appearing personally

before the Courts at the time of the depositions. Counsel shall not at any time
Case Be2ihd-0288843RH SOWN 6 G4trdnt BACCHHED 36/E3/Pa0Pags BP age |Patje/P4172

conduct himself or herself in a manner not becoming an officer of the court and
not in full compliance with the civil rules of practice and all other orders of the
Courts. Neither counsel nor witnesses shall, at any time, engage in conduct that
impedes, delays, or frustrates the examination of the witness. All counsel and the
deponent must be treated with civility and respect.

3. There shall be no smoking or use of other tobacco products in
any room in which a deposition is being conducted, including before, during or
after a deposition, or in the deposition room during the deposition recesses.

4. Disputes relating to depositions shall be resolved jointly by the
Courts, wherever possible. Where possible, Chief Judge Herndon will coordinate
communications among the Courts. More specifically:

If a dispute arises before or after a deposition: Promptly upon filing
a motion in the court in which her case is pending, the moving party will email a
copy of the motion to Judge Herndon and his staff as follows: Sara Jennings,
Courtroom Deputy (Sara_Jennings@ilsd.uscourts.gov); Debra Ward, Chambers

Counsel (Debra Warde

bee

and Judge Herndon

(Judge Herndon@ilsd.uscourts.gov). Copies of the request, together with the

supporting documents, shall be emailed to the counsel involved in the immediate
dispute, and the leadership of defendants and of plaintiffs for each jurisdiction.
To the extent the dispute relates to an action outside of the MDL proceedings, this
Court will endeavor to coordinate conferral among the Courts for resolution of the
issue, consistent with the law of the various jurisdictions.

If a dispute arises during a deposition that requires expedited
Case BEeZind-028883RH Bown MG4rrdnt 4uecHed $6/63/PA0Pags 4%PEGe|Page/H5#173

consideration: The party requesting the intervention of the court will send a short
email to this Court stating as follows: "The parties to the Pradaxa MDL request
your assistance resolving a dispute in connection with an ongoing deposition, and
request a time to confer with the Court by telephone at its earliest convenience."
The party requesting assistance shall provide the Court with a brief, non-
argumentative description of the dispute that needs resolution. The email shall
be copied to lead counsel present at the deposition and to the designated Lead
and Liaison Counsel in the MDL.

B. Notices/Scheduling

1. Content of Notice. Each deposition notice shall include the
name, address and telephone number of an attorney point of contact designated
by the party noticing the deposition as well as the date, time and place of the
deposition. This order in its entirety shall be attached to any subpoena or
deposition notice that pertains to a third-party witness covered by its terms.

2. Cooperation in Scheduling. Absent extraordinary
circumstances, counsel shall consult with opposing counsel and counsel for
proposed deponents in an effort to schedule depositions at mutually convenient
times and locations. Counsel are expected to cooperate and coordinate the
scheduling of depositions on a good faith basis.

3. Location. To the extent reasonably possible, depositions of
witnesses located in the United States will take place in the deponent’s home

district or, if counsel for the deponent agrees, in another district convenient to the
Case BeZihd-02888I3RH SOWN Md G4trdnt 4UCCFHEM 3H/E3/Pa0PaGs Page |Patje/HPF174

deponent, counsel and the parties. The location of the deposition shall be as
consistent as possible within each city so that videotape equipment, if being used,
can be left in place.

4. Adequacy of Notice. After counsel, through consultation, have
arrived on a date and location for a deposition, the Noticing Party shall serve an
amended Notice reflecting the agreed upon date and location. Third-party
witnesses subpoenaed to produce documents shall be served with the document
subpoena at least thirty (30) calendar days before a scheduled deposition. All
other depositions shall be noticed at least twenty-one (21) days in advance.

5. Attendance. In order for counsel to make arrangements for
adequate deposition space, Plaintiffs’ Liaison Counsel for the jurisdiction from
which the notice was served and Defendants’ Liaison Counsel shall confer
regarding the expected attendance at least five (5) business days before the
scheduled date.

6. Remote Participation. In the event that a party wishes to
participate in a deposition remotely, that is, either by telephone or internet, that
party shall notify Plaintiffs’ Liaison Counsel for the jurisdiction from which the
Notice was served as well as Defendants’ Liaison Counsel, two days in advance of
the start of the deposition. Any party seeking to participate remotely must agree to
be bound by applicable Protective Orders and shall not re-record the deposition,
by video or audio means. The party seeking to participate remotely is responsible

for securing the necessary telephone lines or internet connections.
Case BeZind-02888-3RH Bown Ms G4rdnt 4uecHEd $H/3/PagPAaGs EXPEGC|Pagje/H54175

7. Means of Recording.

{a} Stenographic Recording. A certified Court reporter shall
stenographically record all deposition proceedings and testimony. The Court
reporter shall administer the oath or affirmation to the deponent. A written
transcript by the Court reporter shall constitute the official record of the
deposition for purposes of FED. R. CIV. P. 30(e) and similar state court rules
addressing filing, retention, certification and the like.

(b)  Telephonic Depositions. By indicating in its notice of
deposition that it wishes to conduct the deposition by telephone, a party shall be
deemed to have moved for such an order under FED.R.CIV.P. 30(b)(7) and
similar state court rules. Unless an objection is filed and served within ten (10)
calendar days after such notice is received, the court shall be deemed to have
granted the motion. Other parties may examine the deponent telephonically or in
person. However, all persons present with the deponent shall be identified in the
deposition and shall not by word, sign, or otherwise coach or suggest answers to
the deponent, and shall act in accordance with applicable federal and state rules
of civil procedure and professional conduct governing interaction with the
deponent.

(c) Videotaping. Deposition notices shall state whether the
deposition is to be videotaped. All videotape depositions shall proceed pursuant
to the provisions of section K, infra.

C. Coordination with State Court Actions/Cross-Noticing of
Case BEeZind-028983RH Bown MeG4rrdnt 4uecHed $6/63/Pa0P Ags OPEC |Page/H5H176

Depositions/Corporate Representative Depositions

1. Cross-Notices. The parties and all courts desire to minimize
the expense and inconvenience of this litigation by, inter alia, providing for a
single deposition of witnesses within the time limits set forth in this Order in all
litigations relating to Pradaxa. Any witness deposition in this litigation subject to
this Order may be cross-noticed by any party in any related action pending in any
state or federal court, subject to the provisions of paragraph C(5), infra. There
should be full participation by all jurisdictions in every deposition.

2. Coordination of Depositions. Plaintiffs’ counsel from all
jurisdictions shall coordinate the scheduling of depositions and the duties for
examination of the deponent. In the interest of efficiency, the fewest number of
attorneys possible should be used at each deposition. Under no circumstance
shall more than two plaintiffs’ attorneys for each jurisdiction question a witness.

3. There shall be no more than four examining attorneys, who
shall confer prior to the deposition concerning allocation of time to question.
Under no circumstances will plaintiffs’ failure to allocate time among themselves
or to enforce that allocation of time among themselves during a deposition result
in an extension of the deposition. At no time shall any plaintiffs’ lawyer ask
questions previously asked by another plaintiffs’ counsel.

A. Subsequent Depositions. If a deposition originally noticed in
another state or federal court has been cross-noticed in another state or federal

court subject to this Order or one substantively identical that is anticipated by the
Case Be ihd-0288843RH SOWN Gs G4trdnt BACCHHED 36/63/PA0PAaGE BP BIE |Patje/HPF177

parties to be entered promptly in all state court actions involving Pradaxa, then a
party may not take a subsequent deposition of that witness over objection of the
opposing party or the witness except for good cause shown as determined by the
Courts. Any subsequent deposition shall be restricted to such additional inquiry
stipulated to by the parties or as permitted by the Courts.

5. Corporate Representative Depositions. The notice(s) for the
deposition of a corporate representative under FED. R. CIV. P. 30(b)(6) and
similar state court rules, shall describe with reasonable specificity the matters
for examination and the questioning shall be limited to those specific matters.

D. Length of Depositions

Unless otherwise ordered by the Courts, or agreed to by the parties
and counsel for any deponent, the following provisions shall govern depositions
subject to this Order. It is the intent of the parties that the limitations set forth
below constitute the total time to be allocated to a witness's deposition, regardless
of the number of jurisdictions in which cases may be pending or the time that
could be used for such deposition it were taken separately in each jurisdiction
where a case was filed.

1. A deposition day shall be seven (7) hours of testimony and
shall ordinarily commence at 8:30 a.m. and terminate at 5:00 p.m. including a
one-hour break for lunch, and a morning break of no more than fifteen minutes
and afternoon break of no more than fifteen minutes plus any necessary restroom

breaks. A deposition may continue to 7:30 p.m. only when the long deposition
Case BEeZihd-028883RH Bown MeG4rrdnt 4uecHEd $H/3/PaGPAGE S%PEGC|Page/HHF178

day will make it possible to conclude the deposition in a single day by agreement
of the parties. No breaks shall be taken while a question is pending, except to
confer about an issue relating to privilege. If a witness has a documented medical
condition that affects his or her ability to testify for seven (7) consecutive hours,
the parties agree to work in good faith to accommodate an alternative schedule for
that witness.

2. Counsel should be efficient in depositions. Counsel shall
confer about the time required to depose a particular witness. Absent agreement
of the parties or order of the Courts, the presumption is that a deposition shall
not exceed two days, or fourteen (14) hours of questioning by Plaintiffs’ counsel
combined, with MDL and state court attorneys dividing that combined time
between them. Such designations shall be made during the scheduling process for
the depositions so as to permit consecutive days of testimony (including a third,
half day of testimony for any direct examination by defendants’ counsel and
redirect described below). The limits for depositions will also include: (a) for
depositions limited to fourteen hours, up to two hours of additional time for
examination by defendants’ counsel and an additional, equal amount of time (not
exceeding the amount utilized by defendants) for redirect examination.

3. Depositions of expert witnesses shall be limited to eight (8)
hours with the same additional time limits set forth above for direct examination
by the producing party and then redirect. Previously disclosed experts who are

designated as case specific experts in prior cases and have been deposed shall be
Case BeLihd-02888I3RH OWN G6 G4itrant HUCCFHED.30/63/PA20PAGOLODP HE |Patje7H5 #179

made available for up to four (4) hours of additional deposition testimony in any
subsequent case in which they are designated as a case specific expert (meaning
they will offer testimony directed to a particular plaintiff).

4, Upon a showing of good cause or by agreement of the parties,
the limits on the number and duration of depositions set forth herein may be
extended.

5. In the event that the deposition involves a translator, the
maximum length of the deposition shall be increased as is reasonably necessary
by up to 75%.

6. No witness should be deposed in this MDL proceeding and any
related state court proceedings more than once (unless designated as a corporate
representative and/or expert witness, in which case such witness may be deposed
two or possibly three times - once in his or her individual capacity, once as a
corporate representative if so designated, and once as an expert witness if so
designated), with coordination occurring between the lawyers in the MDL and
state court jurisdictions. An individual designated to testify as both a corporate
representative and in his/her individual capacity shall not be deposed by Plaintiffs
for more than a total of three (3) days of seven hours of testimony per day.
However, if such witness is later designated as an expert witness, an additional
day of deposition time shall be made available. If documents created by, sent by
or received by a witness that {i) existed prior to the deposition, (ii) were

responsive to prior discovery requests, and (iii) are materially significant to the
Case BEL ihd-02888I3RH OWN G6 G4itrant HUCOFHE 3/63/PA0PAagOl i DP age lPatje7H5 #180

deponent's testimony are produced after his or deposition, then the opposing
party shall have the right to re-depose such witness on such document(s).

E. Number of Depositions

Plaintiffs may take up to twenty-two (22) depositions of current and former
employees of Boehringer Ingelheim Pharmaceuticals, Inc. The parties shall meet
and confer regarding depositions to be scheduled and make a good faith effort to
determine the duration, relevance and reasonableness of requested depositions
before scheduling same.

F. Exhibits

Counsel shall use reasonable efforts to mark exhibits sequentially and shall
attempt to use the previously marked exhibit number in subsequent depositions
rather than re-marking the same exhibit with different exhibit numbers.

G. Custodial Files

Provided that plaintiffs notify counsel for Boehringer Ingelheim

Pharmaceuticals, Inc. at least 60 days in advance of the intended deposition of
any present or former employee of Boehringer Ingelheim Pharmaceuticals, Inc.,
the updated, relevant, non-privileged, previously non-produced portions of the
custodial file of that employee shall be produced 30 days in advance of the
scheduled deposition to the address specified by plaintiffs’ counsel. With respect
to any document withheld or redacted, the producing party shall produce a
privilege log at the time of within seven (7) days of producing the custodial file

materials.
Case BEL ihd-02888I3RH OWN G6 G4itrant HUCCHHED 3/63/PA0PAgOL2DP age |Patje/HH#191

H. Translation of Documents

Objections as to the accuracy of any translations of deposition
testimony shall be preserved unless a stipulation is reached by the parties in
advance of the deposition.

I. Translators

1. If a witness indicates his or her intention to respond to
questions in a language other than English, neutral translators will be employed
to interpret and translate between the foreign language and English. If the
translator is required for an employee of Boehringer Ingelheim Pharmaceuticals,
Inc., then the cost of such translator shall be paid by Boehringer Ingelheim
Pharmaceuticals, Inc. Each translator will swear under oath or affirm prior to
each deposition to provide honest and truthful translations.

2. Counsel for Boehringer Ingelheim Pharmaceuticals, Inc. will
notify the plaintiffs at least 15 days in advance of the deposition of any present or
former employee of Boehringer Ingelheim Pharmaceuticals, Inc. whose
examination will require the involvement of a translator. Subject to their being
informed of the terms of this Order, counsel for third party witnesses will notify
counsel for the party who noticed the deposition at least 15 days in advance of the
deposition that the examination will require the involvement of a translator. In the
event the noticing party receives such notice from a third party or his/her counsel,
then the noticing party shall inform defendant's counsel within twenty-four hours

of receiving such notice. Ifa translator is needed, the party who’s witness is being
Case BeLihd-02888I3RH OWN G6 G4itrant HUCCHHED 3/63/PA0PAgOLeDP age |Patje7HH4192

deposed shall bring the official translator(s); however, the opposing party shall
have the right to bring his or her own translator to provide a check on the
translation.

J. Copies of Transcripts and Recordings

1. Each side shall bear its own costs in securing copies of the
deposition transcript, videotape or DVD.

2. Subject to the terms of the Confidentiality Order entered in
these proceedings, any party may at its own expense obtain a copy of the
videotape and the stenographic transcript by contacting the Liaison Counsel for
the party noticing the deposition or the court reporter.

K. Postponements

Once a deposition has been scheduled, it shall not be taken off the
calendar, rescheduled or relocated less than three (3) calendar days in advance of
the date it is scheduled to occur, except upon agreement between the party
noticing the deposition and Liaison or Lead Counsel for the opposing party
witness (if the witness is a party or a current or former employee) or counsel for
the witness (if the witness is not a party or a current or former employee) or by
leave of the Courts for good cause. A party taking a deposition off the calendar
shall notify opposing counsel in writing with the reason for the need to do so, and,
within a reasonable time following any such notice, provide alternative dates for

rescheduling the deposition.
Case BEL ihd-02888I3RH OWN G6 G4itrant HUCCFHED 3H/63/PA0PAaGOLADP age |Patje7H5#183

L. Attendance

1. Permitted Attendees. Unless otherwise agreed to by the parties,
depositions may be attended only by the parties, the deponent, the deponent’s
attorney, attorneys of record in MDL-2385 or state cases, in-house counsel and a
company representative for the parties, court reporters, videographers, and any
person who is assisting in the litigation and whose presence is reasonably
required by counsel. Experts who have signed the Protective Order may attend
expert depositions of the other parties’ experts but may not participate in
depositions. Upon application, and for good cause shown, the Courts may permit
attendance by a person who does not fall within any of the categories set forth
above.

2. Unnecessary attendance by counsel is discouraged and may
not be compensated in any fee application to the court. Counsel who have only
marginal interest in a proposed deposition or who expect their interests to be
adequately represented by other counsel may elect not to attend.

3. Examination Regarding Confidential Documents. While a
deponent is being examined about any document that has been designated as
confidential pursuant to any court order, attendance at that portion of the
deposition by persons to whom disclosure is not authorized by such order shall
be prohibited. Any portion of the deposition transcript containing confidential

information shall be sealed so as not to waive confidentiality.
Case BEL ihd-0288843RH OWN 2 G4trdnt HUCOFNEd 3.6/83/P29 Pag SDP age |Patje/H5 F194

M. Image Recorded Depositions

Any depositions may be videotaped at the request of any party
pursuant to the following terms and conditions:

l. Simultaneous Stenographic Recording. All videotaped
depositions shall be simultaneously stenographically recorded in accordance with
paragraph B (7), above.

2. Cost of the Deposition. The party requesting videotaping of the
deposition shall bear the expense of both the videotaping and the stenographic
recording. Requests for the taxation of these costs and expenses may be made at
the conclusion of the litigation in accordance with applicable law.

3. Videotape Operator. The operator(s) of the videotape recording
equipment shall be subject to the applicable provisions of FED. R. CIV. P. 28(c)
and similar state court rules.

A. At the commencement of the deposition the operator(s) shall
swear or affirm to record the proceedings fairly and accurately. The operator shall
produce both video and DVD formats of each deposition.

5. Standards. Unless physically incapacitated, the deponent shall
be seated at a table except when reviewing or presenting demonstrative materials
for which a change in position is needed. To the extent practicable, the deposition
will be conducted in a neutral setting, against a solid background, with only such
lighting as is required for accurate video recording. Lighting, camera angle, lens

setting, and field of view will be changed only as necessary to record accurately
Case BEZihd-028883RH Own qs Garant BUecCHHEd 36/63 /P20 PAGO LEDP age Page’ #185

the natural body movements of the deponent or to portray exhibits and materials
used during the deposition. Sound levels will be altered only as necessary to
record satisfactorily the voices of counsel and the deponent.

6. Filing. After the deposition is completed, the video operator
shall certify on camera the correctness, completeness, and accuracy of the
videotape recording in the same manner as a stenographic court reporter, and file
a true copy of the videotape, the transcript, and certificate with Liaison Counsel
for whomever noticed the deposition.

7. Objections and instructions not to answer at videotape
depositions are subject to the provisions of section L, infra. If the objection
involves matters peculiar to the videotaping, a copy of the videotape and
equipment for viewing the tape shall also be provided to the Court.

8. Technical Data. Technical data such as recording speeds and
other information needed to replay or copy the tape shall be included on copies of
the videotaped deposition.

N. Objections and Directions Not to Answer

1. Unless otherwise agreed by the parties, and noted on the
record, the following stipulations shall apply to all depositions in this action:

(a) Unless otherwise specified by any defendant, an objection
by a single defendant shall be deemed an objection by all defendants and, unless
otherwise specified by any plaintiff, an objection by a single plaintiff shall be

deemed an objection by all plaintiffs. However, unless otherwise specified, an
Case BEL ihd-02888I3RH OWN G6 G4itrant HUCCFHEY.3/63/PA90PAgOL FDP age |Patje/HH#196

instruction not to answer by one defendant should not be deemed an instruction
not to answer by all defendants and an instruction not to answer by one plaintiff
should not be deemed an instruction not to answer by all plaintiffs at risk for
sanctions should he/she instruct a witness in bad faith.

(b) All objections are reserved until trial or other use of the
deposition, except those objections regarding the foundation, the form of the
question or the existence of a privilege.

{c) Counsel shall refrain from engaging in colloquy during
depositions, and counsel shall comply with Fed. Rule Civ. P. 30{(c)(2) concerning
objections at depositions. The phrase “objection as to form,” “objection as to
foundation,” or similar language shall be sufficient to preserve all objections as to
form and foundation until the deposition is sought to be used. Counsel may ask
what specific defect in form or foundation is referenced in the objection in order
to decide if there is a need to cure the alleged defect.

2. Objections other than as to form and foundation, addressed
above, are not waived, and are reserved for later ruling in each of the coordinated
proceedings or by the trial judge.

Oo. Use of Depositions

1. Under the conditions prescribed in FED. R. CIV. P. 32(a) (1)-
(4) and similar state court rules or as otherwise permitted by the Federal or
applicable state's Rules of Evidence, depositions may be used by any party who

has submitted, or been found subject, to the jurisdiction of any court in any case
Case BeLihd-02888I3RH OWN G6 G4itrant HUCCFHE 30/63/PA0PAROLBDP age |Patje7H53187

covered by this order or one substantively similar (including parties later added
and parties in cases subsequently filed in any state court covered by a
substantively identical order, cases filed in, removed to or transferred to the
federal court which is covered by this order; all of which are part of this litigation)
who:

(a) was present or represented at the deposition; or

(b) had reasonable notice thereof: or

(c) absent a showing of excusable delay, within thirty (30)
days after the deposition is taken or within forty-five (45) days after becoming a
party in state actions or MDL-2385 fails to file a motion and obtain an order
concluding that just cause exists such that the deposition should not be used in
that case.

2. This order does not address the admissibility for trial
purposes of any testimony taken by deposition. Determinations on the
admissibility of any such testimony shall be made in each coordinated proceeding
or at trial.

3. This order does not envision that a separate trial preservation
deposition must be taken in order for the deposition to be introduced at trial.

P. Correcting and Signing Depositions

Unless waived by the deponent, the transcript of a deposition shall be

submitted to the deponent for correction and signature, and shall be corrected

and signed within thirty (80) days after receiving the final transcript of the
Case BELihd-028883RH Own qs Garant BuecHHEd 36/63 /P20PAageLbDPage Page’ #188

completed deposition. If no corrections are made during this time, the transcript
will be presumed accurate. Parties in jurisdictions where the rules do not provide
for correction and signing of a deposition transcript reserve their objections to
corrections made pursuant to this procedure.
g. Effectiveness and State Court Proceedings
This Order is being entered in reliance on representations of Lead
Counsel for the Plaintiffs and Defendants and counsel for plaintiffs in state court
actions presently pending in California, Connecticut, and Illinois, that the parties
will jointly and promptly submit in each such state court proceeding involving
Pradaxa product liability claims deposition protocol orders substantively similar
to this Order for the purposes stated herein, and that the same orders shall be
jointly tendered in later filed actions in those states or in other states where there
are presently no claims pending.
So Ordered
Digitally signed by
David R. Herndon

Date: 2012.10.03
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United States District Court Date: October 3, 2012
Chief Judge
